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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA

               v.                                  Hon. Michael A. Hammer

 MATTHEW BRENT GOETTSCHE,                          CRIMINAL NO.: 19-cr-877-CCC
 [DEFENDANT TWO REDACTED],
 JOBADIAH SINCLAIR WEEKS,
 JOSEPH FRANK ABEL, and
 SILVIU CATALIN BALACI



          DEFENDANT JOBADIAH SINCLAIR WEEKS’ NOTICE OF FILING
           SUPPLEMENTAL DOCUMENTS IN SUPPORT OF HIS MOTION
            FOR TEMPORARY RELEASE PURSUANT TO 18 U.S.C. 3142(i)


       Defendant Jobadiah Sinclair Weeks gives notice of filing supplemental documents in

support of his Motion for Temporary Release Pursuant to 18 U.S.C. 3142(i) (D.E. 68). The

supplemental documents are (i) a letter of support that notes Mr. Weeks’ history of asthma (Exhibit

A), (ii) CDC guidance on COVID-19 and asthma (Exhibit B), and (iii) the CDC’s FAQ on asthma

(Exhibit C).

Dated: March 24, 2020                             CARLTON FIELDS

                                                  /s/ Simon Gaugush
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 24, 2020, I filed the foregoing with the Clerk of Court

using the Court’s CM/ECF system, which will serve an electronic copy to all counsel of record.

                                                   /s/ Simon Gaugush
                                                   Simon Gaugush, Esq.




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